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1
                                                                Judge Franklin D. Burgess
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8
                              UNITED STATES DISTRICT COURT
9
                             WESTERN DISTRICT OF WASHINGTON
10                                     AT TACOMA
11

12   UNITED STATES OF AMERICA,        )                NO. CR04-5516FDB
                                      )
13                         Plaintiff, )                ORDER GRANTING STIPULATED
14                                    )                MOTION TO CONDUCT DISCOVERY
                      v.              )                PURSUANT TO RULE 32.2(c)(1)(B)
15                                    )                RE: PETITION OF WILLIAM AND
16
     MICHAEL STEFFEN,                 )                BEVERLY STEFFEN AND SETTING
                                      )                HEARING DATE ON PETITION
17                         Defendant. )
     ________________________________ )
18

19
            This matter having come before the Court on petitioners William and Beverly
20

21   Steffen’s petition to have their claim of interest in real property located at 540 3rd Avenue,
22
     Fox Island, Washington, recognized in proceedings ancillary to the entry of a Preliminary
23
     Order of Forfeiture in this case, and on the agreed Motion of the parties to conduct discovery
24

25   relating to the petition, and the Court having considered the representations of the parties and

26   the files and records herein, it is hereby
27

28
     ORDER GRANTING MOTION TO CONDUCT DISCOVERY
     AND SETTING HEARING DATE RE: PETITION OF
     WILLIAM AND BEVERLY STEFFEN - 1                                                 UNITED STATES ATTORNEY
                                                                                     700 STEWART STREET, SUITE 5220
     CR04-5516FDB
                                                                                    SEATTLE, WASHINGTON 98101-1271
                                                                                             (206) 553-7970
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1            ORDERED that the third party ancillary hearing concerning Steffen’s petition, is
2
     scheduled for August 11, 2005 at 9:00 a.m. in Courtroom C.
3
             FURTHER ORDERED that the parties may conduct discovery pursuant to the Federal
4

5    Rules of Civil Procedure on all relevant matters, including, but not limited to those identified
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     in plaintiff’s motion for discovery, said discovery to be completed no later than July 31,
7
     2005.
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9            DATED this 18th day of May, 2005

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11                                               /s/ Franklin D Burgess
                                                 FRANKLIN D BURGESS
12                                               UNITED STATES DISTRICT JUDGE
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16   Presented by:
17
      s/Peter O. Mueller
18   PETER O. MUELLER
     Assistant United States Attorney
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21    s/Zenon Peter Olbertz by POM*
22   ZENON PETER OLBERTZ
     Attorney for William and Beverly Steffen
23

24
     * Per telephonic authorization
25

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28
     ORDER GRANTING MOTION TO CONDUCT DISCOVERY
     AND SETTING HEARING DATE RE: PETITION OF
     WILLIAM AND BEVERLY STEFFEN - 2                                                 UNITED STATES ATTORNEY
                                                                                     700 STEWART STREET, SUITE 5220
     CR04-5516FDB
                                                                                    SEATTLE, WASHINGTON 98101-1271
                                                                                             (206) 553-7970
